Case 01-01139-AMC    Doc 929639-4      Filed 09/03/21   Page 1 of 3




                           EXHIBIT D

     R. Kraft E-Mail Correspondence dated September 1, 2021
                    Case 01-01139-AMC            Doc 929639-4         Filed 09/03/21      Page 2 of 3


Roger Higgins

From:                              Rune Kraft <rk@kraft.legal>
Sent:                              Wednesday, September 1, 2021 7:50 AM
To:                                Roger Higgins
Cc:                                'James O'Neill'
Subject:                           RE: Grace - Kraft Contempt Motion _ Notice of Hearing


Mr. Higgins,
I will neither respond to your court motions nor attend any hearings at this Article I court in Delaware.
W.R. Grace & Co. is a thriving business with a market capitalization of $ 4.62 billion. The Connecticut
corporation is part of ongoing conspiracy as detailed in the complaint I have filed against it at the Article III
court in Arizona.
Your efforts are misguided.
Thanks,
Rune


From: Roger Higgins <rhiggins@rogerhigginslaw.com>
Sent: Wednesday, September 1, 2021 10:28 AM
To: Rune Kraft <rk@kraft.legal>
Cc: 'James O'Neill (jo'neill@pszjlaw.com)' <jo'neill@pszjlaw.com>
Subject: Grace - Kraft Contempt Motion _ Notice of Hearing

Mr. Kraft,
Please find attached the Court’s order shortening notice on the Reorganized Debtor’s civil contempt motion and the notice
of hearing.
The hearing will be telephonic. Instructions for dialing in are contained in the order shortening notice.
You will also be receiving e-mail and next-day mail service of these docket items.
The docket entries are below.
        Case Number:         01-01139-AMC
        Document Number: 33261


        Docket Text:
        Order Granting Motion to Shorten Notice Period and Schedule Hearing on the Reorganized Debtor's Emergency
        Motion for an Order Finding that Rune Kraft is in Contempt of this Court by having Willfully and Knowingly
        Violated this Court's Confirmation Order and its Order of August 26, 2021 [Docket no. 33256] by Filing a Motion
        for an Article III Court's Review of this Court's August 26 Order. (related document(s)[33256]) Order Signed on
        9/1/2021. (BJM)

        Document Number: 33262




                                                              1
                     Case 01-01139-AMC             Doc 929639-4         Filed 09/03/21        Page 3 of 3
        Docket Text:
        Notice of Hearing on Reorganized Debtor's Emergency Motion for Contempt. The case judge is Ashely M. Chan.
        Objections due by 9/8/2021. (related document(s)[33261]) (BJM)

Warmest Regards. R

Roger J. Higgins
THE LAW OFFICES OF ROGER HIGGINS, LLC
516 N. Ogden Ave
Suite 136
Chicago, IL 60642
United States
Tel: (312) 480-1984
e-mail: rhiggins@rogerhigginslaw.com
                                                      www.rogerhigginslaw.com
This message contains PRIVILEGED AND CONFIDENTIAL INFORMATION intended solely for the use of the addressee(s) named
above. Any disclosure, distribution, copying or use of the information by others is strictly prohibited. If you have received this
message in error, please notify the sender by immediate reply and delete the original message. Thank you.




                                                                2
